                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

       v.                                                 Case No. 12-CR-88

SHAKIL WAMIQ
                     Defendant.


                                   DECISION AND ORDER

       In this case, the government charged nine defendants with trafficking in contraband

cigarettes. Two defendants – Shakil Wamiq and Mazher Khan – remain for trial, which is

scheduled for April 8, 2013. Wamiq and Khan are charged in count one with conspiring to ship,

transport, receive, possess, sell, distribute, and purchase contraband cigarettes, contrary to

18 U.S.C. §§ 371 & 2342. Wamiq is also charged with four substantive counts (counts thirty,

thirty-four, thirty-seven, and thirty-eight) and Khan with five substantive counts (counts nine,

twelve, thirteen, fifteen, and twenty-five) of violating § 2342.

       Before me are Wamiq’s motion in limine to bar evidence pursuant to Fed. R. Evid. 403

& 404(b), and the government’s motion in limine to resolve a potential advocate-witness conflict

on the part of Wamiq’s lawyer, Glenn Seiden. For the reasons that follow, I will deny in part

and grant in part Wamiq’s motion to exclude evidence. The evidence I exclude will obviate the

need for Seiden to testify and thus moot the government’s motion.

                                                I.

       Wisconsin and Illinois regulate the distribution of cigarettes, requiring that distributors

be licensed and pay a tax. Distributors pay the tax by purchasing tax stamps, which are then



    Case 2:12-cr-00088-LA        Filed 04/01/13      Page 1 of 9   Document 132
affixed to each pack of cigarettes. Distributors are forbidden to obtain “unstamped” cigarettes

from other than authorized sources. See generally 35 ILCS 130/1 et seq.; Wis. Stat. ch. 139.

The federal Contraband Cigarette Trafficking Act, 18 U.S.C. § 2341 et seq., criminalizes the

transport, receipt, possession, sale, or distribution of “contraband cigarettes,” 18 U.S.C. § 2342,

defined as a quantity in excess of 10,000 cigarettes, which bear no evidence of the payment

of applicable state or local cigarette taxes, 18 U.S.C. § 2341(2). Only certain persons may

possess such cigarettes, including licensed manufacturers and exporters, common carriers

transporting cigarettes under a proper bill of lading, individuals licensed by the state who are

in compliance with the accounting and payment requirements relating to such license, and

government agents having possession of such cigarettes in connection with the performance

of official duties. 18 U.S.C. § 2341(2).

       In this case, the government alleges that the defendants obtained untaxed/unstamped

cigarettes from an unauthorized source in the Eastern District of Wisconsin (an undercover

ATF agent), which they then transported for distribution and sale in the Northern District of

Illinois. The government seeks to introduce at trial evidence that Wamiq also purchased

unstamped cigarettes from unauthorized sources in Lombard, Illinois between June 2010 and

September 2010, and in Hickory Hills, Illinois between May 2011 and January 2012. The

government also seeks to introduce evidence of a December 1, 2011 interview, in which

Wamiq, accompanied by attorney Seiden, admitted the Illinois purchases to ATF agent Michael

Casey. The government indicates that Casey told Wamiq that Wamiq had admitted to

committing a crime by purchasing these untaxed/unstamped cigarettes. The government

further alleges that, despite this admonition from Casey, Wamiq continued to obtain contraband

cigarettes, including from the Wisconsin source as charged in the instant indictment.

                                                2


    Case 2:12-cr-00088-LA        Filed 04/01/13     Page 2 of 9     Document 132
      The only witnesses to the December 1, 2011 interview were Wamiq, Seiden, and Casey.

Based on an indication that Seiden disputed the accuracy of Casey’s report of the interview,

the government filed a motion seeking a hearing on a potential advocate-witness conflict. See

United States v. Jones, 600 F.3d 847, 861-62 (7th Cir. 2010) (“The advocate-witness rule

generally bars a lawyer from acting as both an advocate and a witness in the same proceeding

except under special circumstances.”). At the March 29 final pre-trial, I asked defense co-

counsel precisely what Seiden would dispute about Casey’s recitation. She indicated that

Seiden would testify that Agent Casey told Wamiq that he could continue doing what he was

doing, because he was a licensed stamper, and that there was no investigation going on.1

Counsel did not indicated that Seiden would dispute any of the statements Casey attributes to

Wamiq.

                                              II.

      Under Rule 404(b), the government may not introduce evidence of other crimes, wrongs,

or acts in order to prove the defendant’s propensity to commit the crime charged. Fed. R. Evid.

404(b)(1); United States v. Miller, 673 F.3d 688, 694-95 (7th Cir. 2012). However, such

evidence may be admitted for other purposes, such as proving motive, opportunity, intent,

preparation, plan, knowledge, identity, absence of mistake, or lack of accident. Fed. R. Evid.

404(b)(2). In deciding whether to admit 404(b) evidence, the district court considers whether:

(1) the evidence is directed toward establishing a matter in issue other than the defendant’s

propensity to commit the crime charged; (2) the evidence shows that the other act is similar

enough and close enough in time to be relevant to the matter in issue; (3) the evidence is


      1
         In fact, the ATF in Illinois was conducting an investigation into contraband cigarette
trafficking.

                                              3


    Case 2:12-cr-00088-LA       Filed 04/01/13      Page 3 of 9   Document 132
sufficient to support a jury finding that the defendant committed the similar act; and (4) the

probative value of the evidence is not substantially outweighed by the danger of unfair

prejudice. United States v. Chapman, 692 F.3d 822, 827 (7th Cir. 2012).2 Of course, if the

evidence constitutes direct evidence of the crime charged, Rule 404(b) does not apply. See,

e.g., United States v. Vargas, 689 F.3d 867, 873-74 (7th Cir. 2012); United States v.

McKibbins, 656 F.3d 707, 711 (7th Cir. 2011); United States v. Boone, 628 F.3d 927, 933 (7th

Cir. 2010).

       In his motion, Wamiq argues that the court should bar evidence of the Illinois purchases

because, at all relevant times, he held an Illinois license allowing him to buy unstamped

cigarettes, stamp them, and resell them. He states that much of the evidence at issue was

gathered during an investigation in the Northern District of Illinois pursuant to which he was

charged, but the government later moved to dismiss that case. He contends that the dismissal

was due at least in part to the fact that, as a licensed stamper with the state of Illinois, he had

the ability and the right to buy unstamped cigarettes, which he would then stamp and resell.

He argues that the government should not be allowed to use conduct that it decided not to

prosecute as evidence of previous bad acts in this case. In sum, Wamiq contends that the

Illinois purchases do not actually constitute “bad acts,” and that allowing this evidence would

be unfairly prejudicial, confusing the issues and misleading the jury about the nature of the

case against him.


       2
        Wamiq also cites Fed. R. Evid. 403, which allows the court to “exclude relevant
evidence if its probative value is substantially outweighed by a danger of one or more of the
following: unfair prejudice, confusing the issues, misleading the jury, undue delay, wasting time,
or needlessly presenting cumulative evidence.” When dealing with prior bad acts, the final
prong of the Rule 404(b) test incorporates Rule 403. United States v. Moore, 641 F.3d 812,
824 (7th Cir. 2011).

                                                4


    Case 2:12-cr-00088-LA        Filed 04/01/13     Page 4 of 9     Document 132
       In its response, the government indicates that in the present case Wamiq is alleged to

have purchased unstamped cigarettes from a Milwaukee ATF undercover warehouse with his

co-defendant, Mohammad Uddin, acting as an intermediary. In the Illinois investigation, Wamiq

was observed purchasing unstamped cigarettes from an ATF confidential informant in a

parking lot and at an Illinois undercover warehouse with a different associate acting as an

intermediary. The government argues that this evidence is probative of Wamiq’s motive, plan,

intent, and lack of mistake or accident. The government further argues that, given Wamiq’s

apparent claim that he was entitled to make these purchases based on his Illinois license, his

knowledge with respect to the lawfulness of his activity is an issue; thus, the government seeks

admission of Agent Casey’s admonition to Wamiq that his Illinois purchases were illegal. The

government notes that on December 8, 2011, one week after his interview with Casey, Wamiq

allegedly traveled to the Milwaukee undercover warehouse, where with Uddin he made an

unstamped cigarette purchase of 8100 cartons under circumstances exactly like those that

Casey had advised him to be criminal. Further purchases followed, from both the Illinois and

Milwaukee undercover warehouses.

       I agree with the government that evidence of the Illinois purchases is admissible under

Rule 404(b). First, the evidence goes to Wamiq’s motive and plan to purchase unstamped

cigarettes from unauthorized sources, contrary to the requirements of his license,3 enabling him

to undercut his competition by obtaining and selling cigarettes at a lower cost. Moreover, the


       3
         Wamiq does not explain how his Illinois license would permit him to stamp cigarettes
obtained in the manner alleged by the government. See 35 ILCS 130/3 (“A distributor may
apply tax stamps only to original packages of cigarettes purchased or obtained directly from
an in-state maker, manufacturer, or fabricator licensed as a distributor under Section of [the
Illinois Cigarette Tax Act] or an out-of-state maker, manufacturer, or fabricator holding a permit
under Section 4b of this Act.”).

                                                5


    Case 2:12-cr-00088-LA        Filed 04/01/13     Page 5 of 9    Document 132
evidence constitutes direct evidence of guilt as well, as it tends to rebut any defense that

Wamiq had purchased sufficient tax stamps to apply to all of the cigarettes he purchased, in

both Wisconsin and Illinois.

       Second, the Illinois and Wisconsin activity is quite similar, with Wamiq, acting through

an intermediary, allegedly obtaining unstamped cigarettes from undercover warehouses in both

states. The timing of the conduct overlaps, with the instant conspiracy alleged to have

continued from February 2011 to April 2012, and the Illinois conduct from June 2010 to

January 2012. Third, the Illinois evidence, which includes surveillance videos/photos and

admissions by Wamiq, appears sufficient to permit a reasonable jury to find, by a

preponderance of the evidence, that the other acts occurred. See United States v. Burke, 425

F.3d 400, 410 (7th Cir. 2005) (applying the preponderance standard).4

       Fourth, given the strong similarly between the Illinois evidence and the Wisconsin

evidence, the likelihood that the jury will draw the forbidden propensity inference is slight. See

United States v. Paredes, 87 F.3d 921, 925 (7th Cir. 1996). Nor is this the type of evidence

that would cause the jury to decide the case on an improper, e.g., emotional, basis. See

United States v. Chambers, 642 F.3d 588, 594 (7th Cir. 2011). The government indicates that,

in addition to the testimony of Agent Casey, it intends to present evidence of the Illinois activity

in summary fashion, with a single agent describing the investigation and presenting

photographs clipped from the video evidence, along with a summary chart of the dates and

quantities of Wamiq’s purchases from the Illinois undercover warehouse. Thus, the likelihood


       4
        Wamiq presents no authority supporting exclusion of this evidence just because Illinois
authorities declined to prosecute him. See Dowling v. United States, 493 U.S. 342, 348-49
(1990) (permitting under Rule 404(b) introduction of evidence of crime of which the defendant
had been acquitted).

                                                 6


     Case 2:12-cr-00088-LA       Filed 04/01/13      Page 6 of 9    Document 132
of jury confusion or waste of time appears slight.

       Finally, I will, if requested, provide an appropriate limiting instruction. Such instructions

are “effective in reducing or eliminating any possible unfair prejudice from the introduction of

Rule 404(b) evidence,” United States v. Jones, 455 F.3d 800, 809 (7th Cir. 2006), and the court

assumes that the jury follows them, United States v. Miller, 688 F.3d 322, 330 (7th Cir. 2012);

see also United States v. Chambers, 642 F.3d 588, 595 (7th Cir. 2011) (presuming, absent a

showing that the jury could not follow the court’s instruction, that the jury limited its

consideration of the testimony in accordance with the instruction).

       For these reasons, I will admit evidence of the Illinois purchases, including Wamiq’s

admissions to Agent Casey. However, I will exclude Casey’s statement to Wamiq that Wamiq

had admitted to committing a crime. Unlike Wamiq’s statements to Casey, which qualify as

admissions by a party-opponent, Fed. R. Evid. 801(d)(2), Casey’s statement to Wamiq is

hearsay, Fed. R. Evid. 801(c) (“‘Hearsay’ means a statement that: (1) the declarant does not

make while testifying at the current trial or hearing; and (2) a party offers in evidence to prove

the truth of the matter asserted in the statement.”).5 To the extent that the government seeks

to offer the statement not for its truth but for the effect on Wamiq, see Fed. R. Evid. 801(c)(2),

i.e., to show that Wamiq then knew his conduct was unlawful, such knowledge is not necessary

in this case. The parties agree that in order to obtain a conviction, the government must prove

that Wamiq acted “knowingly,” which means that he realized what he was doing, was aware



       5
        There is no indication that admission of Casey’s statement is necessary to put Wamiq’s
statements in context or to make what Wamiq said intelligible to the jury. See, e.g. United
States v. Gaytan, 649 F.3d 573, 579 (7th Cir. 2011). It appears that Wamiq had already made
the relevant admissions at the time Casey made the statement about the legality of the
conduct.

                                                 7


    Case 2:12-cr-00088-LA        Filed 04/01/13      Page 7 of 9    Document 132
of the nature of his conduct, and did not act through ignorance, mistake, or accident. Pattern

Criminal Jury Instructions of the Seventh Circuit § 4.10. The Seventh Circuit has explained that

under this mens rea the defendant must have knowledge of the facts constituting the offense,

not knowledge that those facts constitute a crime. See, e.g., United States v. Stein, No. 12-

2182, 2013 WL 1110868, at *2-3 (7th Cir. Mar. 19, 2013); United States v. Wilson, 159 F.3d

280, 289 (7th Cir. 1998).6 Finally, whatever minimal relevance Casey’s statement may have

is substantially outweighed by the danger of unfair prejudice and confusion to the jury. The

court does not generally permit witnesses to testify that conduct is legal or illegal; rather, the

court instructs the jury on what the law is. See United States v. Caputo, 517 F.3d 935, 942 (7th

Cir. 2008) (“The only legal expert in a federal courtroom is the judge.”). Caputo concerned

expert testimony, but the Seventh Circuit has also cautioned district judges not to allow lay

witnesses to offer conclusions regarding the “legal implications” of conduct. United States v.

Espino, 32 F.3d 253, 257 (7th Cir. 1994); see also United States v. Locke, 643 F.3d 235, 241-

42 (7th Cir. 2011) (collecting cases); United States v. Wantuch, 525 F.3d 505, 514 (7th Cir.

2008) (holding that a witness’s opinion on whether the defendant knew his actions were “legal”

demanded a conclusion as to the legality of the defendant’s conduct, which is unhelpful to the

jury under Rule 701).

       With Casey’s statement about what he told Wamiq excluded, there is no need for

Seiden to provide testimony disputing what Casey said. Accordingly, the government’s motion



       6
        It would be different if Wamiq were charged with a “specific intent” crime or one with the
mens rea of “wilfully,” which has been construed to require proof that the defendant acted with
knowledge that his conduct violated a legal duty. E.g., United States v. Wheeler, 540 F.3d 683,
689 (7th Cir. 2008) (explaining that such statutes constitute an exception to the traditional rule
that ignorance of the law is no excuse).

                                                8


    Case 2:12-cr-00088-LA        Filed 04/01/13     Page 8 of 9    Document 132
to disqualify him pursuant to the advocate-witness rule is moot.

                                             III.

      THEREFORE, IT IS ORDERED that Wamiq’s motion is limine (R. 125) is granted in part

and denied in part, and the government’s motion is limine (R. 105) is denied as moot.

      Dated at Milwaukee, Wisconsin, this 1st day of April, 2013.

                                         /s Lynn Adelman
                                         ______________________________
                                         LYNN ADELMAN
                                         District Judge




                                              9


    Case 2:12-cr-00088-LA      Filed 04/01/13       Page 9 of 9    Document 132
